        Case 3:13-cr-04510-JAH                       Document 1649                      Filed 12/08/16           PageID.9778             Page 1 of
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    ""'AO 2458 (CASD) (Rev 4/141   Judgment m a Criminal Case
               Sheet 1



                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALlFORNIA                                                               ~/l..

                    UNITED STATES OF AMERICA                                            AMENDED JUDGMENT IN A CRIMINAL CASE
                                        v.                                              (For OtIenses Committed On or After November 1, 1987)

                         Christopher Michael Wall       IS                              Case Number: 13-cr-04510-JAH-IS

                                                                                        Melissa Bobrow
                                                                                        Defendant's Attorney
    REGISTRATION NO, 46192298
    I8J Correction of Sentence for Clerical Mistake (house arrest)
    THE DEFE~'DANT:
    [8] pleaded guilty to count(s) One of the superseding Indictment.
    o     was found guilty on count(s) _ _ _ _ _ _ _ _ _~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
18:1962(d); 18:1963,                   Conspiracy to Conduct Enterprise Affairs Through A Pattern of                                        1
1594(d) and 2428(a)                   Racketeering Activity




        The defendant is sentenced as provided in pages 2 through                   5          of this judgment. The sentence is imposed pursuant
 o
 to the Senteneing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

 1)(1
 ~
      Count(s)_re_m_a_l~m_n:;:g                              ----------------------------------------------------
                       .. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is          0     !VI'
                                                                                     dlsmisse d on the motion
                                                                                                    are~
                                                                                                          .   f the Umte
                                                                                                                      . d S tates.  0

 [8] Assessment: S 100.00.


 I8l No fine                                        o Forfeiture pursuant to order filed ---------------- , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence.
 or mailing address until all tines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's eeonomic circumstances.
                                                                               April 1 I, 2016
                                                                               Da~.,OflmpOSjtjO~f s~n~ce            ~          .



                                                                               H'
                                                                                 J!;~~~   . JOHN A. HOUSTON
                                                                               IN'ITED STATES DISTRICT JUDGE

                                                                                I
                                                                                t                                                         J3-cr-045I O-J AH-18
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AO 245B (CASDl (Rev 4/14) Judgment in a Criminal Case
           Sheet 2·- Imprisonment
                                                                                            Judgment- Page _ _2 _ of
 DEFENDANT: Christopher Michael Wall -18
 CASE NUMBER: 13-cr-04S10..JAH-18
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Forty months.




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    [8] The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends custody be served in the Western Region.




    o    The defendant is remanded to the custody of the United States Marshal.

     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.        on
               as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        -------------------------------------------------------------------------
          o as notitied by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL

                                                                   By
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                               13-cr-04510-JAH-IS
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AD 2458 (CASD) (Rev 4/14) ludgment in a Criminal Case
             Sheet 3   Supervised Release
                                                                                                               Judgment-Page   - L - of _ _,.;5_ __
DEFENDANT: Christopher 'vlichael Wall .18
CASE NUMBER: 13-cr-04510-JAH-18
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for i.I term of;
Three years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act of2000. pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tne requirements of the Sex Offender Registration and Notification Act (42 U.S.C. &16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applieable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shaH notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controHed substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any tiIIle at home or elsewhere and shall permit confIscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that IIlay be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                   13-cr-04510-JAH-18
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    - Continued 2    Supervised Release

    Defendant: WALL. Christopher Michael


     CASE NUMBER: 13CR04510-018-JAH

                                         SPECIAL CONDITIONS OF SUPERVISION


I, Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as directed by the probation
officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
contribute to the costs of services rendered in an amount to be determined by the probation officer, based on ability to pay.

2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

3. Resolve all outstanding warrants within 90 days.


4. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or data storage devices or
media, and effects and also social media accounts to search at any time, with or without a warrant, by any law enforcement or
probation officer with reasonable suspicion concerning a violation of a condition of supervised release or unlawful conduct, and
otherwise in the lawful discharge ofthe officer's duties. 18 U.S.c. §§ 3563 (b)(23); 3583 (d)(3).


5. Not use or possess deviees whieh can eommunicate data via modem or dedicated connection and may not have access to the Internet
without prior approval from the court or the probation officer. The offender shall consent to the installation of systems that will enable
the probation officer to monitor computer use on any eomputer owned or controlled by the offender. The offender shall pay for the cost
of installation of the computer software.


6. Provide complete disclosure of personal and business financial records to the probation officer as requested.


7. Consent to third party disclosure to any employer, potential employer, concerning any restrictions (computer use only) that are
imposed by the court.


8. You shall be subject to house arrest for a period of six months. And during that period you are not to leave your home. You are
not to leave your home except for employment, education, schooling for your child, religious activities or medical needs for your child
and your fiancee and yourself. You shall be subject to location monitoring (GPS) as direeted by the probation officer for six months.
You shall pay one half of the cost of the monitoring. With the GPS active monitoring system at the discretion of the probation officer
as to the level of monitoring.


9. Shall not associate with any known member, prospect, or associate ofthe Black MOB/Skanless, or any other known gang, or club
with a history of criminal activity, unless given permission by the probation officer.
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                                                                    5




AO       (Rev. 9/00) Judgment in a Criminal Case Sheet 3 -- Continued 2                 Supervised Release
Defendant: WALL, Christopher Michael


CASE NUMBER: 13CR04510-018-JAH

Judgment-Page         of   2

                                           SPECIAL CONDITIONS OF SUPERVISION

10. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through any third­
party communication, with the victim or victim's family, without prior approval of the probation officer.

It. Shall not loiter, or be present in locations known to be areas where known gang members congregate, unless given permission by
the probation officer.

12. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with a known gang,
unless given permission by the probation officer.

13. Not associate with known prostitutes or pimps and/or loiter in areas frequented by those engaged in prostitution.
